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              Exhibit “1”
Case 2:18-cv-08420-RGK-JC Document 247-1 Filed 01/25/23 Page 2 of 2 Page ID #:2355
                                                           Monday, November 7, 2022 at 09:01:46 Paciﬁc Standard Time


Subject: 18-CV-8420-RGK (C.D. Cal.)
Date: Monday, November 7, 2022 at 8:37:17 AM Paciﬁc Standard Time
From: Whitney Bernstein
To:      kesslerlawnyc@gmail.com, Ariel A. Neuman, dwiechert, John Rubiner (JRubiner@fmglaw.com), Ben
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         Kozinets, Peter (USAAZ), Andrew Stone, Erin McCampbell Paris, Bruce Feder
CC:      Thomas H. Bienert, Toni Thomas

Dear Counsel,
As required by L.R. 83-2.3.2 and L.R. 7-3, we are providing wri`en noace to all paraes who have appeared in
this acaon of our ﬁrm’s intent to ﬁle a moaon to withdraw as retained counsel for James Larkin in this ma`er
no later than next Friday, November 18. If anyone opposes this forthcoming moaon, we are available
anyame during PST working hours this week to meet and confer. In that event, please let us know a ame you
would like to speak.

Thanks,

Whitney


Whitney Z. Bernstein
Partner | Orange County
Bienert Katzman Littrell Williams LLP
Website | vCard | Profile

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